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 9
10                      UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
11
12
13   GAYLA SHELBY, on behalf of himself)     Case No.
     and all others similarly situated, )
14                                      )    CLASS ACTION
15   Plaintiff,                         )
                                        )    COMPLAINT FOR VIOLATIONS
16
            vs.                         )    OF:
17                                      )
     TWO JINNS, INC. DBA ALADDIN )               1.     VIOLATIONS OF
18                                                      ELECTRONIC FUNDS
     BAIL BONDS                         )               TRANSFER ACT [15 U.S.C.
19                                      )               §1693 ET SEQ.]
20   Defendants.                        )
                                        )    DEMAND FOR JURY TRIAL
21
                                        )
22
23         Plaintiff GAYLA SHELBY (“Plaintiff”), on behalf of himself and all
24   others similarly situated, alleges the following against Defendant TWO JINNS,
25   INC. DBA ALADDIN BAIL BONDS upon information and belief based upon
26   personal knowledge:
27
                                 INTRODUCTION
28
           1.    Plaintiff’s Class Action Complaint is brought pursuant to the


                               CLASS ACTION COMPLAINT
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 1   Electronic Funds Transfer Act, 15 U.S.C. 1693 et seq. (“EFTA”).
 2         2.     Plaintiff, individually, and on behalf of all others similarly situated,
 3   brings this Complaint for damages, injunctive relief, and any other available legal
 4   or equitable remedies, resulting from the illegal actions of Defendants debiting
 5
     Plaintiff’s and also the putative Class members’ bank accounts on a recurring
 6
     basis without obtaining a written authorization signed or similarly authenticated
 7
     for preauthorized electronic fund transfers from Plaintiff’s and also the putative
 8
     Class members’ accounts, thereby violating Section 907(a) of the EFTA, 15
 9
     U.S.C. § 1693e(a), and Section 205.10(b) of Regulation E, 12 C.F.R. § 205.l0(b).
10
     Plaintiff alleges as follows upon personal knowledge as to himself and his own
11
     acts and experiences, and, as to all other matters, upon information and belief,
12
     including investigation conducted by his attorneys.
13
14
                              JURISDICTION AND VENUE

15         3.     This Court has jurisdiction under 28 U.S.C. 1331, because this action

16   is brought pursuant to the EFTA, 15 U.S.C. 1693 et seq.
17         4.     Jurisdiction of this Court arises pursuant to 15 U.S.C. 1693(m),
18   which states that, “without regard to the amount in controversy, any action under
19   this section may be brought in any United States district court.”
20         5.     Venue and personal jurisdiction in this District are proper pursuant to
21   28 U.S.C. 1391(b) because Plaintiff resides within this District and Defendants do
22   or transact business within this District, and a material portion of the events at
23   issue occurred in this District.
24                                       PARTIES
25
           6.     Plaintiff, Gayla Shelby (“PLAINTIFF”), is a natural person residing
26
     in Los Angeles County in the state of California, and is a “consumer” as defined
27
     by the FDCPA, 15 U.S.C. §1692a(3) and is a “debtor” as defined by Cal Civ
28
     Code §1788.2(h).

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 1         7.      At all relevant times herein, DEFENDANT, Two Jinns, Inc.
 2   (“DEFENDANT”), which does business as Aladdin Bail Bolds, was a company
 3   engaged, by use of the mails and telephone, in the business of collecting a debt
 4   from PLAINTIFF which qualifies as a “debt,” as defined by 15 U.S.C.
 5
     §1692a(5), and a “consumer debt,” as defined by Cal Civ Code §1788.2(f).
 6
     DEFENDANT regularly attempts to collect debts alleged to be due another, and
 7
     therefore is a “debt collector” as defined by the RFDCPA, Cal Civ Code
 8
     §1788.2(c).
 9
           8.      Defendants acted through their agents, employees, officers,
10
     members, directors, heirs, successors, assigns, principals, trustees, sureties,
11
     subrogees, representatives, and insurers.
12
                          FACTUAL ALLEGATIONS - EFTA
13
14
           9.      In or around November, 2013, Plaintiff entered into a written

15   agreement with Defendant.

16         10.     Starting on or around June, 2014, Plaintiff was contacted by
17   Defendant by letter and telephone phone, in relation to an alleged debt stemming
18   from the parties’ written agreement. In or about June 2014, Defendant’s agents
19   began repeatedly contacting Plaintiff, and Plaintiff’s daughter at work,
20   threatening to garnish their wages if Plaintiff did not make payments on the
21   alleged debt stemming from the parties’ written agreement.
22         11.     Defendant’s agent informed Plaintiff that she should pay off the
23   account by credit card or bank card.
24         12.     Plaintiff provided Defendant’s agent with her debit card number.
25
           13.     Defendant subsequently began automatically withdrawing $150.00
26
     per month from Plaintiff’s account.         Plaintiff was never informed that her
27
     financial information would be retained for future automatic payments.
28
           14.     In or around June of 2014, Plaintiff began to notice monthly re-

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 1   occurring charges being automatically deducted from his personal banking
 2   account by Defendant.
 3         15.    After some investigation, Plaintiff discovered that Defendants were
 4   deducting sums from her account, on a regular basis, in order to make payments
 5
     towards the debt Plaintiff allegedly owe, stemming from the parties’ written
 6
     agreement.
 7
           16.    Defendant’s automatic withdrawals caused an overdraft on
 8
     Plaintiff’s bank account, causing her actual injury in the forms of additional fees.
 9
           17.    Plaintiff contacted her bank to stop the unlawful and unauthorized
10
     automated payments.
11
           18.    Plaintiff never provided Defendants with any authorization to deduct
12
     any sums of money on a regular recurring basis from Plaintiff’s banking account.
13
14
     Defendants continued to deduct this monthly sum from Plaintiff for several

15   months without Plaintiff’s authorization.        Such unauthorized debits from

16   Plaintiff’s bank account by Defendant continued until at least August, 2014.
17         19.    Further, Defendants did not provide to Plaintiff, nor did Plaintiff
18   execute, any written or electronic writing memorializing or authorizing the
19   recurring or automatic payments.
20         20.    Plaintiff did not provide Defendants either with a written or an
21   electronic signature authorizing the recurring or automatic payments.
22         21.    Plaintiff alleges such activity to be in violation of the Electronic
23   Funds Transfer Act, 15 U.S.C. 1693 et seq. (“EFTA”), and its surrounding
24   regulations, including, but not limited to, 12 C.F.R. §§1005.7, 1005.8, and
25
     1005.9.
26
                           CLASS ACTION ALLEGATIONS
27
           22.    Plaintiff brings this action on behalf of herself and all others
28
     similarly situated, as a member of the proposed class (hereafter “The Class”)

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 1   defined as follows:
 2                All persons in the United States whose bank accounts
                  were debited on a reoccurring basis by Defendants
 3                without Defendants obtaining a written authorization
 4                signed or similarly authenticated for preauthorized
                  electronic fund transfers within the one year prior to the
 5
                  filing of this Complaint.
 6
           23.     Plaintiff represents, and is a member of, The Class, consisting of all
 7
     persons within the United States whose bank account was debited on a recurring
 8
     basis by Defendants without Defendants obtaining a written authorization signed
 9
     or similarly authenticated for preauthorized electronic fund transfers within the
10
     one year prior to the filing of this Complaint.
11
           24.     Defendants, their employees and agents are excluded from The
12
     Class. Plaintiffs do not know the number of members in The Class, but believe
13
14
     the Class members number in the hundreds, if not more. Thus, this matter should

15   be certified as a Class Action to assist in the expeditious litigation of the matter.
16         25.     The Class is so numerous that the individual joinder of all of its
17   members is impractical. While the exact number and identities of The Class
18   members are unknown to Plaintiff at this time and can only be ascertained
19   through appropriate discovery, Plaintiff is informed and believes and thereon
20   alleges that The Class includes hundreds, if not thousands, of members. Plaintiff
21   alleges that The Class members may be ascertained by the records maintained by
22   Defendants.
23         26.     This suit is properly maintainable as a class action pursuant to Fed.
24
     R. Civ. P. 23(a) because the Class is so numerous that joinder of the Class
25
     members is impractical and the disposition of their claims in the class action will
26
     provide substantial benefits both to the parties and to the Court.
27
           27.     There are questions of law and fact common to the Class affecting
28



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 1   the parties to be represented.      The questions of law and fact to the Class
 2   predominate over questions which may affect individual Class members and
 3   include, but are not necessarily limited to, the following:
 4         a.     The members of the Class entered into agreements with Defendant
 5
     sto have automatic, or recurring, electronic payments drawn from their personal
 6
     accounts to be paid to Defendants towards settlement of the Class members’
 7
     alleges services received by Defendants.
 8
           b.     The members of the Class were not provided with, nor did they
 9
     execute, written agreements memorializing the automatic or recurring electronic
10
     payments.
11
           c.     Defendants did not request, nor did it provide, Class members with
12
     written agreements memorializing the automatic or recurring electronic
13
14
     payments.

15         d.     The members of the Class did not provide either a written (“wet”) or

16   otherwise electronic signature authorizing the automatic or recurring electronic
17   payments.
18         e.     Despite not providing written or electronic authorization for
19   payments to be drawn from their accounts, Defendants took unauthorized
20   payments from Class members’ accounts.
21         28.    As someone whose bank account was debited on a reoccurring basis
22   by Defendants without Defendants obtaining a written authorization signed or
23   similarly authenticated for preauthorized electronic fund transfers, Plaintiff is
24   asserting claims that are typical of The Class.
25
           29.    Plaintiff will fairly and adequately protect the interests of the
26
     members of The Class. Plaintiff has retained attorneys experienced in the
27
     prosecution of class actions.
28
           30.    A class action is superior to other available methods of fair and

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 1   efficient adjudication of this controversy, since individual litigation of the claims
 2   of all Class members is impracticable. Even if every Class member could afford
 3   individual litigation, the court system could not. It would be unduly burdensome
 4   to the courts in which individual litigation of numerous issues would proceed.
 5
     Individualized litigation would also present the potential for varying, inconsistent,
 6
     or contradictory judgments and would magnify the delay and expense to all
 7
     parties and to the court system resulting from multiple trials of the same complex
 8
     factual issues. By contrast, the conduct of this action as a class action presents
 9
     fewer management difficulties, conserves the resources of the parties and of the
10
     court system, and protects the rights of each Class member.
11
           31.    The prosecution of separate actions by individual Class members
12
     would create a risk of adjudications with respect to them that would, as a practical
13
14
     matter, be dispositive of the interests of the other Class members not parties to

15   such adjudications or that would substantially impair or impede the ability of such

16   non-party Class members to protect their interests.
17         32.    Defendants have acted or refused to act in respects generally
18   applicable to The Class, thereby making appropriate final and injunctive relief
19   with regard to the members of the Class as a whole.
20         33.    Defendants failed to comply with the writing and notice
21   requirements of § 907(a) of the EFTA, 15 U.S.C. § 1693e(a) as to the Class
22   members with respect to the above alleged transactions.
23         34.    Section 907(a) of the EFTA, 15 U.S.C. §1693e(a), provides that a
24   “preauthorized electronic fund transfer from a consumer’s account may be
25
     authorized by the consumer only in writing, and a copy of such authorization
26
     shall be provided to the consumer when made.”
27
           35.    Section 903(9) of the EFTA, 15 U.S.C. § 1693a(9), provides that the
28
     term “preauthorized electronic fund transfer” means “an electronic fund transfer

                                  CLASS ACTION COMPLAINT
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 1   authorized in advance to recur at substantially regular intervals.”
 2         36.    Section 205.l0(b) of Regulation E, 12 C.F.R. § 205.l0(b), provides
 3   that “[p ]reauthorized electronic fund transfers from a consumer’s account may be
 4   authorized only by a writing signed or similarly authenticated by the consumer.
 5
     The person that obtains the authorization shall provide a copy to the consumer.”
 6
           37.    Section 205.10(b) of the Federal Reserve Board's Official Staff
 7
     Commentary to Regulation E, 12 C.F.R. § 205.l0(b), Supp. I, provides that “[t]he
 8
     authorization process should evidence the consumer’s identity and assent to the
 9
     authorization.” Id. at ¶10(b), comment 5. The Official Staff Commentary further
10
     provides that “[a]n authorization is valid if it is readily identifiable as such and
11
     the terms of the preauthorized transfer are clear and readily understandable.” Id.
12
     at ¶10(b), comment 6.
13
14
           38.    In multiple instances, Defendants debited bank accounts of the Class

15   members on a recurring basis without obtaining a written authorization signed or

16   similarly authenticated by the respective Class members for preauthorized
17   electronic fund transfers from the accounts of the respective Class members,
18   thereby violating § 907(a) of the EFTA, 15 U.S.C. § 1693e(a), and Section
19   205.10(b) of Regulation E, 12 C.F.R. § 205.l0(b).
20         39.    In multiple instances, Defendants debited Class members’ bank
21   accounts on a recurring basis without providing a copy of a written authorization
22   signed or similarly authenticated by the respective Class members for
23   preauthorized electronic funds transfers, thereby violating Section 907(a) of the
24   EFTA, 15 U.S.C. § 1693e(a), and Section 205.10(b) of Regulation E, 12 C.F.R. §
25
     205.l0(b).
26
           40.    Pursuant to Fed. R. Civ. P. 23, a class action is appropriate and
27
     preferable because, on information and belief, the putative class consists of
28
     hundreds, if not thousands, of individuals and is so numerous that joinder of all

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 1   putative class members, whether otherwise required or permitted, is
 2   impracticable. The actual number of putative class members is in the exclusive
 3   control of Defendant.
 4          41.    Pursuant to Fed. R. Civ. P. 23, a class action is appropriate and
 5
     preferable, because Plaintiff will fairly and adequately protect the interests of the
 6
     Class and Plaintiff has hired counsel able and experienced in class action
 7
     litigation.
 8
            42.    Pursuant to Fed. R. Civ. P. 23(b)(3), class certification is appropriate
 9
     because this Court and the parties would enjoy economies in litigating common
10
     issues on a class-wide basis instead of a repetitive individual basis.
11
            43.    Pursuant to Fed. R. Civ. P. 23(b)(3), class certification is appropriate
12
     because the size of each putative class member’s actual damages is too small to
13
14
     make individual litigation an economically viable option.

15          44.    Pursuant to Fed. R. Civ. P. 23(b)(3), class certification is appropriate

16   because no unusual difficulties will likely occur in the management of the Class
17   as all questions of law or fact to be litigated at the liability stage are common to
18   the putative class and all compensatory relief is concomitant with a liability
19   finding and can be calculated by automated and objective means.
20          45.    The size and definition of the Class can be identified through
21   Defendant’s records and/or Defendant’s agents’ records.
22
23                              COUNT I:
       DEFENDANTS VIOLATED THE ELECTRONIC FUNDS TRANSFER
24
                                   ACT
25                 (On Behalf of Plaintiff and the Class)
26          46.    Section 907(a) of the EFTA, 15 U.S.C. §1693e(a), provides that a
27   “preauthorized electronic fund transfer from a consumer’s account may be
28   authorized by the consumer only in writing, and a copy of such authorization


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 1    shall be provided to the consumer when made.”
 2          47.    Section 903(9) of the EFTA, 15 U.S.C. § 1693a(9), provides that the
 3    term “preauthorized electronic fund transfer” means “an electronic fund transfer
 4    authorized in advance to recur at substantially regular intervals.”
 5
            48.    Section 205.l0(b) of Regulation E, 12 C.F.R. § 205.l0(b), provides
 6
      that “[p ]reauthorized electronic fund transfers from a consumer’s account may be
 7
      authorized only by a writing signed or similarly authenticated by the consumer.
 8
      The person that obtains the authorization shall provide a copy to the consumer.”
 9
            49.    Section 205.10(b) of the Federal Reserve Board's Official Staff
10
      Commentary to Regulation E, 12 C.F.R. § 205.l0(b), Supp. I, provides that “[t]he
11
      authorization process should evidence the consumer’s identity and assent to the
12
      authorization.” Id. at ¶10(b), comment 5. The Official Staff Commentary further
13
14
      provides that “[a]n authorization is valid if it is readily identifiable as such and

15    the terms of the preauthorized transfer are clear and readily understandable.” Id.

16    at ¶10(b), comment 6.
17          50.    In multiple instances, Defendants have debited Plaintiff’s and also
18    the putative Class members’ bank accounts on a recurring basis without obtaining
19    a written authorization signed or similarly authenticated for preauthorized
20    electronic fund transfers from Plaintiff’s and also the putative Class members’
21    accounts, thereby violating Section 907(a) of the EFTA, 15 U.S.C. § 1693e(a),
22    and Section 205.10(b) of Regulation E, 12 C.F.R. § 205.l0(b).
23          51.    In multiple instances, Defendants have debited Plaintiff’s and also
24    the putative Class members’ bank accounts on a recurring basis without providing
25
      a copy of a written authorization signed or similarly authenticated by Plaintiff or
26
      the putative Class members for preauthorized electronic fund transfers, thereby
27
      violating Section 907(a) of the EFTA, 15 U.S.C. § 1693e(a), and Section
28
      205.10(b) of Regulation E, 12 C.F.R. § 205.l0(b).

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 1                                 PRAYER FOR RELIEF
 2          WHEREFORE, Plaintiff, GAYLA SHELBY, individually, and on behalf
 3    of all others similarly situated, respectfully requests judgment be entered against
 4    Defendant, TWO JINNS, INC., for the following:
 5
            52.    That this action be certified as a class action on behalf of The Class
 6
      and Plaintiff be appointed as the representative of The Class;
 7
            53.    Statutory damages of $1,000.00, per Class Member, pursuant to the
 8
      Electronic Fund Transfer Act, §916(a)(2)(A);
 9
            54.    Actual damages;
10
            55.    Costs and reasonable attorneys’ fees pursuant to the Electronic Fund
11
      Transfer Act, §916(a)(3);
12
            56.    For prejudgment interest at the legal rate; and
13
14
            57.    Any other relief this Honorable Court deems appropriate.

15
16                                      TRIAL BY JURY
17          58.    Pursuant to the seventh amendment to the Constitution of the United
18    States of America, Plaintiff is entitled to, and demands, a trial by jury.
19
20
                   Respectfully submitted this 20TH day of May, 2015.

21
                                  LAW OFFICES OF TODD M. FRIEDMAN, P.C.
22
23
                                  By:   /s/ Todd M. Friedman
24                                      Todd M. Friedman
25                                      Law Offices of Todd M. Friedman
                                        Attorney for Plaintiff
26
27
28



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